   Case: 3:21-cv-00064-TMR Doc #: 41 Filed: 07/26/21 Page: 1 of 2 PAGEID #: 447




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON




 STATE OF OHIO,                                   Case No. 3:21-cv-00064-TMR

                   Plaintiff,                     District Judge Thomas M. Rose

           v.

 GINA RAIMONDO, in her official ca-
 pacity as Secretary of Commerce, ∗ et al.,

                   Defendants.



                                         NOTICE
       As of July 26, 2021, the Census Bureau anticipates providing Ohio with the redis-

tricting data required by 13 U.S.C. §141(c), in a legacy format, no later than August 16,

2021, absent congressional action, orders from any court, or unforeseen processing issues

that may prevent Defendants from providing such data by August 16, 2021. See ECF

No. 37; Notation Order (May 25, 2021).




      Secretary of Commerce Gina Raimondo has been automatically substituted for
       ∗

Wynn Coggins, the former Acting Secretary of Commerce, under Fed. R. Civ. P. 25(d).

                                              1
  Case: 3:21-cv-00064-TMR Doc #: 41 Filed: 07/26/21 Page: 2 of 2 PAGEID #: 448




DATED: July 26, 2021                 Respectfully submitted,

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                                       2
